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W»E,';m .): §§ ;3
UNH;ED :STFATES’©TSAMERICA
Plaintiff,
vs. No.; 04_20264_1)
FRANK sEA,
Defendant.
MorloN FoR coNTINUANcE

 

COMES NOW the Defendant, FRANK SEA, by and through his attorney ofrecord,
William C. Gosnell, who asserts that the Defendant is hereby requesting that the sentencing
hearing currently set for May 3, 2005, be continued. The grounds for this motion is that the
Defendant, Frank Sea, is currently taking medication for psychological problems. Medical
records have been requested There are unresolved psychological issues.

Respect;fdlly S bmitted,

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Attorney for Defendant
245 Exchange
Memphis, Tennessee 3 8105

CERTIFICATE OF SERVICE

l William C. Gosnell,. do hereby certify that a true and correct copy of the foregoing
Motion for Continuance has been mailed via U. S. Postage, postage prepaid to David Pritchard
U._S. Attorney’ s Office 167 N. Main Street, Suite 800, Memphis, Tennessee 38103 on this the

OQAQ, day of May, 2005. /\_j
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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20264 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

ENNESSEE

 

David Pritchard

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Williarn C. Gosnell

LAW OFFICE OF WILLIAM C. GOSNELL
245 EXchange Ave.

l\/lemphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

